         Case 1:99-cr-05060-DAD Document 435 Filed 03/24/15 Page 1 of 2


 1

 2

 3

 4

 5

 6                          IN THE UNITED STATES DISTRICT COURT

 7                       FOR THE EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA,                           1:99-cr-05060-AWI-3
 9

10                    Plaintiff -- Appellee,
                                                         ORDER PROVIDING INFORMATION
11                         vs.                           AND OPPORTUNITY TO FILE
                                                         APPLICATION FOR EXTENSION OF
12   RAUL CHAVEZ,                                        TIME TO APPEAL PURSUANT TO
                                                         ORDER OF APPELLATE COURT
13                    Defendant -- Appellant.
14

15

16

17           On March 10, 2015, Raul Chavez (“Appellant”) filed a notice of appeal of this court’s

18   order dated February 3, 2015, denying Appellants motion to reduce Appellant’s sentence

19   pursuant to 18 U.S.C. § 3582(c)(2). This court has received notice from the Ninth Circuit Court

20   of Appeals that Appellant’s notice of appeal was filed untimely under Federal Rule of Appellate

21   Procedure 4(b)(1)(A) because it was filed more than 14 days after the entry of the order being

22   appealed. The notice of appeal was, however, filed within 30 days after the expiration of the

23   time to file the notice of appeal. See Fed. R. App. P. 4(b)(4). Therefore, pursuant to circuit

24   court policy, the case was remanded by the circuit court to this court:

25           For the limited purpose of permitting the district court to provide
             [A]ppellant notice and an opportunity to request that the time for filing the
26           notice of appeal be extended, for a period not to exceed 30 days from the
             expiration of the time prescribed by Rule 4(b), upon a finding of
27           excusable neglect or good cause.

28   See Doc. # 434 (citing United States v. Ono, 72 F.3d 101, 103 (9th Cir. 1995) (order); United


     A
         Case 1:99-cr-05060-DAD Document 435 Filed 03/24/15 Page 2 of 2

 1
     States v. Stolarz, 547 F.2d 108 (9th Cir. 1976)).
 2
             THEREFORE, pursuant to the order of the Ninth Circuit Court of Appeals, it is hereby
 3
     ORDERED that Appellant submit to THIS COURT an Application for Extension of Time to file
 4
     Notice of Appeal. Appellant shall file the Application at the earliest possible time. Appellant is
 5

 6   ordered to explain in his Application the reason or reasons for the delay and/or to explain any

 7   excusable neglect. The Clerk of the Court shall serve this order on Appellant at the following
 8   address:
 9
             Reg. No. 99230-011
10           Federal Correctional Institution
             P.O. Box 2000
11           White Deer, Pennsylvania 17887
12

13   IT IS SO ORDERED.

14   Dated: March 24, 2015
                                                 SENIOR DISTRICT JUDGE
15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                                     -2-
     A
